

People v Jaramillo (2017 NY Slip Op 06848)





People v Jaramillo


2017 NY Slip Op 06848


Decided on September 29, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 29, 2017

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, LINDLEY, AND CURRAN, JJ. (Filed Sept. 29, 2017.) 


MOTION NO. (796/12) KA 11-00972.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMIGUEL A. JARAMILLO, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument denied.








